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Court

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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

ROGER McINTOSH, CASE NO. CV F 07-1080 LJO GSA

Plaintiff, Fy,

NORTHERN CALIFORNIA MAR 1'8-2010
UNIVERSAL ENTERPRISES,

INC., LOTUS DEVELOPMENTS, EASTEDN DIST MIST Or CAL CIMA
LP, THE CITY OF WASCO, AND * BUTTER

DENNIS W. DeWALT, INC.,

Defendants.
/

NOTE FROM THE JURY

The jury has reached a unanimous verdict,

____ The jury requests the following :

X_ The jury has the following question(s):

where would we lw WA wu + SF Mecebio Financial
SrAtTmen 1S + Provechons usen fs tohbts ty

Ral "

DATED: March 2010

PRESIDING JUROR
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